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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 EDWARD R. and DEBORAH A.                          )
 ZELECHOWSKI,                                      )
                                                   )
                        Plaintiffs,                )
                                                   )   Case No. 17-CV-318-NJR-RJD
 vs.                                               )
                                                   )
 NATIONSTAR MORTGAGE LLC,                          )
                                                   )
                        Defendant.                 )


                          JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

       IT IS ORDERED AND ADJUDGED that pursuant to the Order entered on July 24, 2017

(Doc. 14), and the Stipulation of Dismissal filed on July 21, 2017 (Doc. 13), this cause of action is

voluntarily DISMISSED with prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), each party to bear their own costs.

       IT IS ORDERED AND ADJUDGED.

       DATED: July 24, 2017

                                                       JUSTINE FLANAGAN, Acting Clerk

                                                       By: s/Deana Brinkley___
                                                           Deputy Clerk

APPROVED: s/ Nancy J. Rosenstengel
          NANCY J. ROSENSTENGEL
          United States District Judge




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